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                                  In the United States District Court
                                      Northern District of Texas
                                          Amarillo Division

Ka La Ya Lay, Aye Aya Lay, Tun Lah,             §
Individually, and Tun Nee Individually and      §
as next friend of minor child, K.M.N. and       §
as Representatives of the Estate of             §
Pwar Gay, Deceased                              §
                                                §
Vs.                                             §                Action No. _________________
                                                §
Tyson Foods, Inc.                               §

                           PLAINTIFFS’ ORIGINAL COMPLAINT

         Ka La Ya Lay, Aye Aya Lay, Tun Lah, Individually, and Tun Nee Individually and as next

friend of minor child, K.M.N. and ​as Representatives of the Estate of Pwar Gay, Deceased,

Plaintiffs, set forth their Complaint for damages against Tyson Foods, Inc., Defendant, and for

cause of action would show as follows:

         1. Parties

         1.1    Plaintiff, Tun Nee, is a resident and citizen of the State of Texas.

         1.2    Plaintiff, Ka La Ya Lay, is a resident and citizen of the State of Texas.

         1.3    Aye Aya Lay, is a resident and citizen of the State of Iowa.

         1.4    Plaintiff, Tun Lah, is a resident and citizen of the State of Texas.

         1.5    Plaintiff, K.M.N. is a minor and is a resident and citizen of the State of Texas.

         1.6    Defendant, Tyson Foods, Inc., (“Tyson”) is a company doing business in the State

of Texas and may be served by process by serving its registered agent, CT Corporation System, 1999

Bryan St., Suite 900, Dallas, Texas 75201-3136. Citation is requested herein. Tyson is a company



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incorporated under the laws of Delaware with a principal place of business in Arkansas.

        2.       Jurisdiction and Venue

        2.1      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1332. The Plaintiffs and

Defendant are citizens of different states and Plaintiffs seek damages in an amount that exceeds the

sum or value of $75,000 exclusive of interest and costs.

        2.2      Personal jurisdiction and venue are proper because the cause of action accrued and

the negligent acts occurred within the Northern District of Texas, specifically within its Amarillo

Division. Furthermore, Tyson has a significant presence within the Northern District of Texas as it

has facilities located in the area.

        2.3      Plaintiffs are entitled to bring a wrongful death action pursuant to Tex. Civ. Prac. &

Rem. § 71.004. The family members’ relationships to the decedent are as follows:

        Tun Nee                                           Husband of Pwar Gay

        Ka La Ya Lay                                             Child of Pwar Gay

        Aye Aya Lay                                       Child of Pwar Gay

        Tun Lah                                           Child of Pwar Gay

        K.M.N.                                                   Child of Pwar Gay

        2.4      Additionally, a survival action is brought herein by Tun Nee, in his capacity as

Representative of the Estate of Pwar Gay, Deceased.

        3.       Background

        3.1      Ms. Gay worked as a meatcutter at the Tyson meatpacking plant located at 5000 FM

1912, Amarillo, Texas 79108. The city of Amarillo issued a stay-at-home order effective April 1,




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2020.1 Similarly, Governor Abbott issued a stay-at-home order which took effect on April 2, 2020.2

In April 2020 Ms. Gay slipped and fell and injured her knees while on the job with Tyson.

Following the injury, Tyson sent Ms. Gay to the Tyson Company Clinic, where she received first aid

treatment and was sent back to work. Ms. Gay was suffering from pain and swelling, but was not

allowed to go home and rest or seek medical attention due to Tyson’s shortage in staff.

         3.2      This injury occurred during the COVID-19 pandemic. COVID-19 infected

numerous workers at the Tyson Beef Plant in Amarillo, where Ms. Gay worked. Ms. Gay was

required to continue to work in pain and with her injured knees, and during the coronavirus

pandemic. Ms. Gay was not provided appropriate personal protective equipment (“PPE”) to

protect her from coronavirus. After working on her injured leg Ms. Gay fell ill and was rushed to

the hospital after she started having dificulty breathing and her knee was extremely swollen and

painful. Ms. Gay was admitted for several weeks as a result of the combination of her knee injuries

and COVID-19 symptoms, which later proved to be fatal. Ms. Gay died on May 8, 2020.

         3.3      Plaintiffs would show that nothing that Pwar Gay did or failed to do on the occasion

in question caused or contributed to cause the occurrence. To the contrary, the injuries and death

of Ms. Gay were proximately caused by the negligence, both of commission and omission, of Tyson.

Tyson’s negligence caused Ms. Gay’s knee injuries, and also caused Ms. Gay to contract COVID-19

and die.

         3.4      Upon information and belief, at least 4,500 Tyson employees have contracted




1
  Amarillo Globe News, https://www.amarillo.com/news/20200330/city-of-amarillo-issues-stay-at-home-order (last
visited May 14, 2020).
2
  Texas Tribute, https://www.texastribune.org/2020/03/31/greg-abbott-texas-executive-order-closures/ (last visited
May 14, 2020).
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COVID-19, and at least 18 have died.3 A grossly disproportionate number of Tyson employees

have contracted COVID-19, and have died, when compared to the population as a whole. Tyson

does not provide workers compensation insurance to its employees, nor does it provide them with

any sick paid leave. Rather, Tyson institutes a rigged “injury settlement” program under which the

deck is stacked against its employees. The thousands of Tyson employees who have been injured on

the job over the years know this rigged program as “WISP,” which stands for “Workplace Injury

Settlement Program.”

        3.5      Tyson was grossly negligent and acted with malice, as that term is understood under

Texas law, and such conduct was a proximate cause of the injuries and death of Ms. Gay. Tyson’s

malicious and grossly negligent conduct justifies the imposition of punitive and exemplary damages

both as punishment of Tyson and its callous disregard for the safety of individuals such as Ms. Pwar

Gay. Plaintiffs therefore ask for punitive and exemplary damages in addition to actual damages.

        3.6      Plaintiff, Tun Nee has also suffered pecuniary loss from the death of his wife, Pwar

Gay. Decedent provided her husband with care, attention, and counsel.                         In all reasonable

probability, decedent would have continued to provide for her husband until death. Tun Nee seeks

to recover a sum of money that would fairly and reasonably compensate him for the termination of

the husband-wife relationship, including the loss of the love, companionship and society that he

would have received from his wife, Pwar had she lived. Plaintiff, Tun Nee also seeks compensation

for the mental anguish, emotional pain, torment and suffering that he has suffered, and in

reasonable probability will continue to suffer in connection with the wrongful death of Pwar Gay.

        3.7      Ka La Ya Lay, Aye Aya Lay, Tun Lah, and K.M.N. ​have suffered pecuniary loss


3
 Business Insider,
https://www.businessinsider.com/tyson-4500-covid-19-cases-as-meat-industry-blames-workers-2020-5 (last visited May
14, 2020).
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from the death of their mother, including losses of care, maintenance, support, services, advice,

counsel, and contributions of a pecuniary value that they would, in reasonable probability, have

received from their mother during her lifetime had he lived. They have suffered additional losses by

virtue of the destruction of the parent-child relationship, including the right to love, affection,

solace, comfort, companionship, society, emotional support, and happiness. They have suffered

mental anguish, grief, and sorrow as a result of the death of their mother, and are likely to continue

to suffer for a long time in the future.

        3.8     Additionally, a survival action is brought herein by Tun Nee, in his capacity as

Representative of the Estate of Pwar Gay, Deceased, including claims for medical bills and pain and

suffering.

        3.9     Tun Nee, Ka La Ya Lay, Aye Aya Lay, Tun Lah, K.M.N. were present when Ms. Gay

suffered from her knee injury COVID-19 symptoms and death and they were in shock as a result of

direct emotional impact from perceiving the death of Ms. Gay as it happened. Accordingly, Plaintiffs

are entitled to recover mental-anguish damages as a bystander to the death of Ms. Pwar Gay.

        3.10    Tyson was not a subscriber to a policy of workers compensation insurance, and thus

Plaintiff brings this suit for damages under the provisions of Section 406.033 of the Texas Labor

Code for personal injuries while in the course and scope of her employment with Defendant.

        3.11    Tyson, as a non-subscriber under the Texas Workers' Compensation Act, and

pursuant to Section 406.033 of the Texas Labor Code, has lost its common law defenses of:

        a.      contributory negligence of Plaintiff;

        b.      that the injury was caused by the negligence of a fellow employee; and/or

        c.      that the Plaintiff assumed the risk of the injury incident to her employment.



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       3.12    Furthermore, Tyson was the owner of the premises where the incident occurred or

otherwise was in control of the premises located at 5000 FM 1912. Ms. Gay was its invitee at the

time the injury occurred. The plaintiff went on defendant’s premises for the mutual benefit of

herself and the defendant, upon the invitation of employment at the premises in question.

       4.      Employer Negligence

       4.1     On the occasion in question, Tyson owed Ms. Gay a duty of care commensurate

with its relationship to her as her employer. As her employer, Tyson owed Ms. Gay a duty to use

ordinary care in providing a safe workplace, hiring competent co-employees, providing needed

safety equipment or assistance, warning Ms. Gay of the hazards of her employment, and providing

training and supervision.

       4.2     Ms. Gay sustained her severe, permanent injuries and died because of Tyson’s

negligence and gross negligence when Tyson and/or its employees negligently:

               a. failed to provide a safe workplace;

               b. failed to protect employees against coronavirus;

               c. failed to hire competent co-employees;

               d. failed to supervise its employees;

               e. failed warn Ms. Gay of the slip hazards;

               f. failed to properly train employees on safety protocols; and

               g. failed to properly supervise employees on a regular basis and under pandemic

               conditions.

       4.3     Tyson’s breach of its duty to use ordinary care constituted negligence and was a

proximate cause of Ms. Gay’s injuries and death.



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        5.      Premises Liability

        5.1     Additionally, as the premises owner, Tyson Food owed Ms. Gay (its invitee) the duty

to exercise ordinary care to keep the premises in a reasonably safe condition, inspect the premises to

discover latent defects, and make safe any defects or give an adequate warning.

        5.2     Tyson’s conduct, and that of its agents, servants, and employees, acting within the

scope of their employment, constituted a breach of the duty of ordinary care owed by Tyson to the

Ms. Gay.

        5.3     Tyson knew that the condition on its premises created an unreasonable risk of harm

to invitees because Tyson knew of the rampant spread of COVID-19 throughout its facility and of

previous slip and fall incidents and/or knew of the enduring hazardous conditions: that the surface

was slippery, dirty, over-worn, lacking appreciable non-skid, without proper drainage, warped, and

susceptible to ponding. Notwithstanding, Tyson should have known that the condition on its

premises created an unreasonable risk of harm to invitees because enduring hazardous conditions

had been present for such a long period of time that Tyson should have known of them in the

exercise of ordinary care.

        5.4     Tyson failed to exercise ordinary care to reduce or eliminate this risk by exposing

employees to coronavirus and failing to maintain the floor in a reasonably safe condition, by failing

to remove the foreign substance, and by failing to warn the plaintiff regarding the slippery and

dangerous condition of the floor.

        5.5     Each of these acts and omissions, whether taken singularly or in any combination,

was a proximate cause of the occurrence described above and of the plaintiff’s injuries and damages

described below.



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        6.       Punitive/Exemplary Damages

        6.1      Ms. Gay adopts and incorporates by reference the preceding Paragraphs 1 through

4.5 as if fully stated within this section.

        6.2      Tyson was grossly negligent, as that term is understood under Texas law, and such

conduct was a proximate cause of Ms. Gay’s injuries and death. Tyson’s grossly negligent conduct

justifies the imposition of punitive and exemplary damages both as punishment of Tyson and its

callous disregard for the safety of individuals such as Ms. Gay, and to deter Tyosn’s ongoing actions

as well as others from engaging in similar conduct.

        6.3      Plaintiff therefore asks for punitive and exemplary damages in addition to all actual

damages.

        7.       Pre- and Post-Judgment Interest

        7.1      Plaintiffs would additionally say and show that they are entitled to recovery of pre-

and post-judgment interest in accordance with law and equity as part of their damages herein, and

Plaintiffs here and now sue for recovery of pre- and post-judgment interest as provided by law and

equity, under the applicable provisions of the laws of the State of Texas.

        8.       Jury Demand

        8.1      Plaintiffs hereby request a trial by jury.

        9.       Conclusion and Prayer

        9.1      Plaintiffs request that Defendants be cited to appear and answer, and that on final

trial Plaintiffs have: (1) judgment against Defendants, for actual, compensatory and exemplary

damages in accordance with the evidence; (2) pre-judgment and post-judgment interest as provided




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by law; (3) costs of court; (4) attorney's fees; and (5) such other and further relief, general and

special, to which Plaintiffs may show themselves justly entitled at law and in equity.

                                                Respectfully submitted,

                                                VB Attorneys

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                                                Deceased,




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